I dissent. The final and concluding language of the statute exempting charitable bequests from inheritance taxes is:
"Provided that all such gifts, bequests, devises and transfersbe limited for use within the state of Washington."
If the bequest in this case was to "the Congregational Board of Ministerial Relief, a corporation organized under the laws of the state of Connecticut in 1907," without limitation or qualification, the majority opinion would be correct, but the will provides that the bequest shall constitute a "trust for the uses and purposes and upon the terms herein set forth, to-wit:
"The said fund is to be invested and reinvested by the said Board, and its income only shall be used to assist in the support and maintenance of aged, needy and dependent ministers of the Congregational Church in the State of Washington and their widows; it being my intention that this bequest to the Congregational Board of Ministerial Relief shall be limited for use within the State of Washington and shall be granted for the relief of only such aged, needy and dependent ministers and their widows as may be actually resident within said state."
It cannot be said that the gift was for the benefit or maintenance of a foreign charity, or to be used even partly in its jurisdiction, but through such charity for use only in this state. This limitation distinguishes this case from the authorities cited in the majority opinion, as I understand them, and brings it within the terms of our statute.
TOLMAN and GERAGHTY, JJ., concur with MITCHELL, J. *Page 90 